
RILEY, Judge,
dissenting.
I respectfully disagree with the majority's decision to reverse the jury verdict and remand for a new trial. As an issue of first impression, State Farm disputes the admissibility at trial of the bodily injury limit for UM coverage in the Earls' policy. Specifically, relying on a relevancy argument, State Farm asserts that the UM coverage limits should be excluded because *1013the amount of coverage is irrelevant to the issue of damages that is being decided. I disagree.
While State Farm is correct that no Indiana case has decided this issue on point, case law exists where a policy's UM limits were presented to the jury for consideration in its verdiet. Most prevalently, Indiana courts have allowed the introduction of UM limits in the area of jury instructions. In 2008, we noted in Malott v. State Form Mutual Automobile Insurance Company, 798 N.E.2d 924, 925 (Ind.Ct.App.2003), that "[alt State Farm's request and over Malott's objections, the trial court instructed the jury that Malott had to prove that State Farm breached its contract with Malott, resulting in damages to her, and that it could not award damages against State Farm in excess of the UM policy limit of $100,000." Reviewing the jury instruction, we noted that
[IJn the present case the jury was required to first assess the damages Mal-ott suffered in the accident in accordance with tort law principles, and then it was required to compare this amount with the amount State Farm has actually paid and determine, under contract law principles, whether State Farm breached its contractual obligation to pay UM benefits.
Id. at 925-26. As such, we concluded that the jury instruction was a correct statement of the law and relevant to the issues that needed to be decided. Id. at 927.
Similarly, in Allstate Insurance Company v. Hammond, 759 N.E.2d 1162, 1165 (Ind.Ct.App.2001), Hammond sought UM benefits in a contract action against Allstate. Over Allstate's objection, the trial court instructed the jury on the UM coverage limits and informed the jury that it could set the value of Hammond's injury "without regard to the policy limits that were in effect at the time of this collision." Id. at 1165. The jury returned a verdict in excess of the UM limit. Id. Distinguishing tort actions from actions in contract, this court noted that "the measure of damages in a contract action is limited to those actually suffered as a result of the breach which are reasonably assumed to have been within the contemplation of the parties at the time the contract was formed." Id. at 1166-67. Therefore, "[the plaintiff may recover the benefit of the bargain but is limited in her recovery to the loss actually suffered, and a damage award must be referenced to some fairly defined standard." Id. at 1167. However, because we concluded it was error to instruct the jury that it may assess damages "without reference to the policy limits", we reversed the verdict. Id. Thus, although not stated explicitly, it is clear that the limits of the UM coverage are relevant to the issue of damages.
Here, the admissibility of the UM coverage limits was contested by Farm Bureau through a motion in limine and timely objections at trial. The trial court reject, ed Farm Bureau's arguments and instruct ed the jury on the UM limits and the elements to consider in determining the damage amount. In light of Malott and Hammond, I conclude that the trial court did not abuse its discretion when it admitted evidence of the Earls UM coverage limits.
Moreover, I cannot say that the admissibility of the coverage limits was prejudicial. State Farm asserts, and the majority agrees, that the amount of the verdict-which was exactly the maximum under the UM coverage-suggests that the jury was influenced by the evidence of the coverage limit. However, the majority disregards the substantial amount of evidence reflecting Jerry's extreme pain in the weeks after the wreck and the physical pain, mental suffering, and limitations he contin*1014ued to suffer because of his injuries until his death. Prejudicial error is not established merely because the jury awarded the UM policy limit; rather, the more appropriate inference is that the jury followed the trial court's instructions and, in light of the overwhelming evidence, arrived at the policy limit. I would affirm the trial court.
